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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION

 CALIFORNIA LIFE SCIENCES                               Civil Action No. 3:20-cv-08603-VC
 ASSOCIATION, et al.,
                                                        JOINT STATUS REPORT
               Plaintiffs,
      v.

 CENTER FOR MEDICARE AND
 MEDICAID SERVICES, et al.,

               Defendants.


           The parties respectfully submit this Joint Status Report pursuant to the Court’s September 1,

2021 Order. See ECF No. 60. This action challenges an interim final rule published by the Centers for

Medicare & Medicaid Services (“CMS”) on November 27, 2020. See Most Favored Nation (MFN)

Model, 85 Fed. Reg. 76, 180 (Nov. 27, 2020) (“MFN Interim Final Rule”). On December 28, 2020,

this Court preliminarily enjoined Defendants from implementing the MFN Interim Final Rule pending

completion of notice and comment procedures under the Administrative Procedure Act. See Order,

ECF No. 50. On January 8, 2021, the Solicitor General determined not to appeal the preliminary

injunction issued in this case. The Court has since stayed the case at the parties’ request, and directed

the filing of periodic Joint Status Reports. Most recently, on September 1, 2021, at the parties’ request,

the Court extended the stay, with a Joint Status Report due by November 10, 2021.

           Consistent with this Court’s preliminary injunction, CMS has not implemented the MFN

Interim Final Rule, and it is not currently in effect. On August 10, 2021, CMS published a Notice of

Proposed Rulemaking (“NPRM”) that proposes to rescind the MFN Interim Final Rule. The NPRM

had a comment period of 60 days, which ended on October 12, 2021. The agency is currently

considering the comments that were submitted regarding the NPRM. The parties respectfully request




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that the current stay remain in effect. The parties propose to submit another status report advising the

Court of any further developments no later than December 10, 2021.



 Dated: November 10, 2021                            Respectfully submitted,

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                 DECLARATION PURSUANT TO LOCAL RULE 5-1(i)(3)
       Pursuant to Local Rule 5-1(i)(3), the undersigned filer declares that concurrence in the filing
of this document has been obtained from the other signatories to this document.
       I declare under penalty of perjury that the foregoing is true and correct. Executed this 10th
day of November, 2021.

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